Case 22-12343-JDW         Doc 23     Filed 11/22/22 Entered 11/22/22 13:23:55           Desc Main
                                    Document      Page 1 of 4



                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                  CHAPTER 13 CASE NO.:

STEPHANIE JONES NORWOOD AND
STEVEN WAYNE NORWOOD                                                               22-12343-JDW

         OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN (DKT. #9)

       COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the "Trustee"), by and through

counsel, after reviewing the voluntary petition (the "Petition"), Schedules, Statement of Financial

Affairs, and conducting the Section 341(a) Meeting of Creditors, and files this Objection to

Confirmation of Chapter 13 Plan (the "Objection"), and in support thereof states as follows:

       1.      The Debtors commenced this proceeding by filing a voluntary petition on

September 15, 2022 (the "Petition Date"). The Debtors filed a proposed Chapter 13 Plan (Dkt. #9)

(the "Plan") on September 19, 2022.

       2.      The Debtors are below median income, and the proposed term of the Plan is sixty

(60) months. Section 5.1 of the Plan does not provide for a distribution to nonpriority unsecured

creditors. The liquidation value in Section 5.1 of the Plan is zero ($0).

       3.      The Debtors’ Schedules fail to disclose all assets and liabilities as required by 11

U.S.C. § 521(a)(1)(B)(i); therefore, the requirement of §1325(a)(1) is not met. Specifically, the

Debtors failed to disclose a 2012 Chevrolet Silverado on Schedule A/B (Dkt #7, Pg. 4) according

to the Proof of Claim filed by Ally Financial (Clm. #12-1). Additionally, the Joint Debtor testified

at the telephonic Section 341(a) Meeting of Creditors conducted on November 15, 2022 (the “341

Meeting”) that he has a pending lawsuit against his former employer which is not disclosed as

required by question thirty-three (33) on Schedule A/B (Dkt. #7, Pg. 8).




                                                  1
Case 22-12343-JDW        Doc 23     Filed 11/22/22 Entered 11/22/22 13:23:55             Desc Main
                                   Document      Page 2 of 4



       4.      The Debtors’ Schedules I and J fail to accurately report the Debtor's current income

and expenditures as required by 11 U.S.C. § 521(a)(1)(B)(ii); therefore, the requirement of

§1325(a)(1) is not met. Specifically, the Joint Debtor testified at the 341 Meeting that he has a new

job. Therefore, Schedule I (Dkt. #7, Pgs. 35-36) must be amended to disclose the Joint Debtor’s

current employer and income.

       5.      The Plan fails to comply with 11 U.S.C. §§ 1325(a)(1) and 1325(a)(3). The Plan

has not been proposed in good faith because the Debtors failed to provide for the treatment of the

secured claims of the Mississippi Department of Revenue (Clm. #4-1) and Ally Financial (Clm.

#12-1). The local form Chapter 13 Plan and Motions for Valuation and Lien Avoidance (the "Local

Form Plan") approved by this Court provides that "[t]he treatment of ALL secured and priority

debts must be provided for in this plan."

       6.      The Plan fails to comply with 11 U.S.C. §§ 1325(a)(1) and 1322(a)(2) because it

fails to provide for the treatment of the priority claim of the Internal Revenue Service (Clm. #8-

2). The local form Chapter 13 Plan and Motions for Valuation and Lien Avoidance (the “Local

Form Plan”) approved by this Court provides that "[t]he treatment of ALL secured and priority

debts must be provided for in this plan.”

       7.      The Plan fails to comply with 11 U.S.C. § 1325(a)(1). Section 3.1(a) of the Plan

provides that the ongoing mortgage payments shall be paid beginning in December 2022 to the

Bank of Holly Springs (“BOHS”). However, the Plan will not be sufficiently funded to allow for

the disbursement to BOHS and all other creditors at confirmation due to the failure to the

delinquency in plan payments in the amount of $700.00 as of October 2022.




                                                 2
Case 22-12343-JDW        Doc 23      Filed 11/22/22 Entered 11/22/22 13:23:55            Desc Main
                                    Document      Page 3 of 4



        8.     The Plan fails to comply with 11 U.S.C. §§ 1325(a)(9) and 1308. The Debtor has

failed to file her 2019 and 2020 Federal tax returns according to the Amended Proof of Claim filed

by the Internal Revenue Service (Clm. #8-2).

        9.     The Debtors should timely remit all plan payments due under the Plan prior to the

hearing, or the case should be dismissed for failure to comply with the proposed Plan.

        10.    For the reasons set forth herein, the Trustee submits that confirmation of the Plan

should be denied, and the case should be dismissed.

        WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which the Trustee and this bankruptcy estate may be

entitled.

        Dated: November 22, 2022.

                                      Respectfully submitted,

                                      LOCKE D. BARKLEY
                                      CHAPTER 13 TRUSTEE

                              BY:     /s/ Melanie T. Vardaman
                                      ATTORNEYS FOR TRUSTEE
                                      W. Jeffrey Collier (MSB 10645)
                                      Melanie T. Vardaman (MSB 100392)
                                      6360 I-55 North, Suite 140
                                      Jackson, MS 39211
                                      (601) 355-6661
                                      mvardaman@barkley13.com




                                                3
Case 22-12343-JDW        Doc 23     Filed 11/22/22 Entered 11/22/22 13:23:55             Desc Main
                                   Document      Page 4 of 4



                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system. I hereby certify that I either mailed
by United States Postal Service, first-class, postage prepaid, or electronically notified through the
CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the Debtor, the
United States Trustee, and other parties in interest, if any, as identified below.

       Dated: November 22, 2022.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




                                                 4
